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                   EXHIBIT 2
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



PLAINTIFFS’ REQUESTS FOR ADMISSION TO DEFENDANT LLANO COUNTY,
                           SET ONE
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          PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

          RESPONDING PARTY:            Defendant Llano County

          SET NUMBER:                  One (1)

          Pursuant to Fed. R. Civ. P. 36, Plaintiffs hereby requests that Defendant Llano County

(“Defendant” or “Llano County”) answer the following Requests for Admission and that said

answers be served on Plaintiffs at the law offices of BraunHagey & Borden LLP, 351 California

Street, 10th Floor, San Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street,

Austin, Texas 78701, within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for

Expedited Discovery.

          These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Llano County, or

anyone representing the interests of Llano County, becomes aware of any additional information,

documents, or things sought by these requests between the time Llano County responds and trial.

                                          DEFINITIONS

          1.     The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

          2.     The terms “YOU,” “YOUR,” and “LLANO COUNTY” refer, collectively and
individually, to Llano County and its officers, directors, principals, partners, employees, agents,

representatives, consultants, attorneys, and any other persons acting under its control or on its

behalf.

          3.     The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.



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       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the online platform used to access the

LIBRARY SYSTEM’s electronic collection or catalog of materials, including ebooks, audio

books, movies, and research databases.

       7.      The term “KRAUSE LIST” refers to the list of purportedly inappropriate books

compiled and published by Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      “SEXUAL CONTENT” refers to any material that refers to, reflects, or depicts
sexual activity in any fashion.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,

teen pregnancy, violence, or LGBTQ issues.



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       12.       The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now
in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,

proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

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name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

                                         INSTRUCTIONS
       1.      If any Request for Admission is withheld by reasons of a claim of privilege, or

because it RELATES TO any DOCUMENT being withheld by reason of a claim of privilege,

please furnish a privilege log within seven (7) days of service of these Requests identifying each

such DOCUMENT for which privilege is claimed, together with the following information with

respect to each DOCUMENT or Admission: (a) author; (b) recipient; (c) sender; (d) indicated or

blind copies; (e) date; (f) general subject matter; (g) basis on which the privilege is claimed; and
(h) the Request for Production to which such DOCUMENT RELATES.

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

       Admit that the LIBRARY SYSTEM’s 2006 Materials Policy, attached here as Exhibit A,

applied to the selection of MATERIALS for, and the removal of MATERIALS from, the

LIBRARY SYSTEM between June 2021 and the present.

REQUEST FOR ADMISSION NO. 2:

       Admit that you violated the LIBRARY SYSTEM’s 2006 Materials Policy when YOU

removed Caste: The Origins of Our Discontent by Isabel Wilkerson from the Library System.

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REQUEST FOR ADMISSION NO. 3:

        Admit there are still MATERIALS with SEXUAL CONTENT available in the

LIBRARY SYSTEM.

REQUEST FOR ADMISSION NO. 4:

        Admit that They Called Themselves the K.K.K: The Birth of an American Terrorist

Group by Susan Campbell Bartoletti is not pornographic or obscene.

REQUEST FOR ADMISSION NO. 5:

        Admit that books with INAPPROPRIATE CONTENT and SEXUAL CONTENT can

have serious literary, artistic, political, and scientific value.

REQUEST FOR ADMISSION NO. 6:

        Admit that all citizens of Llano County should have access to MATERIALS on Critical

Race Theory.



Dated: May 11, 2022                                      BRAUNHAGEY & BORDEN LLP


                                                         By:        /DRAFT/
                                                                    Ellen V. Leonida

                                                         Attorneys for Plaintiffs




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                 EXHIBIT A
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                            Materials Selection Policy
r
    Purpose of Policy
       • To guide the Director/Head Librarian in the selection of materials.
       • To inform the public about the principles upon which selections are made.

    Definition of Media Selection
       • "Selection" refers to the decision that must be made either to add materials to the
           collection or retain materials already in the collection. The "de-selection" of
           materials will be based on information supplied in the Crew Manual.

    Goals of Media Selection
       • To maintain a well-balanced and broad collection of materials for information,
           reference, research, and enjoyment.
       • To support the democratic process by providing materials for the education and
           enlightenment of the community.

    Responsibility for Selection
       • The ultimate responsibility for media selection rests with the Director/Head
          Librarian of the Library, who operates within the framework of policies
          determined by the Commissioners Court. The general public and staff members
(         may recommend materials for consideration.

    General Principles
       • Selection is based on the merits of a work in relation to the needs, interest and
          demands of the Llano County Library System. Basic to this policy is the Library
          Bill of Rights, as adopted by the American Library Association. This states in
          part, "In no case should any book be excluded because of race or nationality or
          the political or religious views of the writer. There should be the fullest
          practicable provision of material presenting all points of view concerning the
          problem and issues of our times ... international, national and local; and media or
          other reading material of sound factual authority should not be proscribed or
          removed from the library shelves because of partisan or doctrinal disapproval".
          The Library does not promulgate particular beliefs or views, nor is the selection of
          any given media equivalent to endorsement of the viewpoint of the author
          expressed therein.
       • Responsibility for the reading of children rests with their parents or legal
          guardians. Selection should not be inhibited by the possibility that media may
          inadvertently come into possession of children.
       • Materials with an emphasis on sex, or containing profane language should not be
          automatically rejected. Selection should be made on the basis of whether the
          media presents life in its true proportions, whether characters and situations are
          realistically presented, and whether the media has literary value.
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    August 14, 2006
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        •    Based on the services it is expected to perfonn, it is the responsibility of the
(            Library to provide circulation reference, and research material for the general
             public and the student. Special collections in depth (business, technology, local
             history, etc.) shall also be maintained when indicated by accepted Library
             procedures and budget restraints.

    Specific Principles for Selection
       The following principles will condition selection:
           • Contemporary significance or permanent value.
           • Accuracy
           • Authority of author
           • Relation of work to existing collection
           • Price, format and ease of use
           • Scarcity of information in subject area
           • Availability of material elsewhere in community ... holdings of other libraries
               within the community is considered in developing the Library's collection.
           • Popular demand ... The Library should make available materials for
               enlightenment and recreation even if not enduring in value, interest or
               accuracy. A representative sampling of experimental or short-lived materials
               may be purchased.

    Textbooks
       • Providing textbooks and curriculum material is generally held to be the
(         responsibility of the schools. Textbooks should be purchased for the collection
          when they supply information in areas that may be the best, or the only source of
          information on the subject.

    Non-book Materials
      • Purchase of non-book materials should be governed by the same principles and
          criteria applied to book purchase.

    Gifts
        •    Selection of gifts should be governed by the same principles and criteria applied
             to the selection of an item for purchase. No conditions may be imposed relating
             to any gift after its acceptance by the Library

    Requests for removal of materials
       • The patron's choice of library materials for personal use will be an individual
          matter.
       • Responsibility for the use of materials by children and adolescents shall rest with
          their parents or legal guardians. While a person may reject materials for himself
          or herself and for his or her children, he or she shall not exercise censorship to
          restrict access to the materials by others.




    August 14, 2006
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
 PURYEAR, KATHY KENNEDY,                    §
 REBECCA JONES, RICHARD DAY,                §
 CYNTHIA WARING, AND DIANE                  §
 MOSTER,                                    §
                                            §
    Plaintiffs,                             §
                                            §
            v.                              §
                                            §
 LLANO COUNTY, RON CUNNINGHAM, §
 in his official capacity as Llano County   §
 Judge, JERRY DON MOSS, in his official §
 capacity as Llano County Commissioner,     §
 PETER JONES, in his official capacity as   §
 Llano County Commissioner, MIKE            §
 SANDOVAL, in his official capacity as      §
 Llano County Commissioner, LINDA           §
 RASCHKE, in her official capacity as Llano §
 County Commissioner, AMBER MILUM, §
 in her official capacity as Llano County   §
 Library System Director, BONNIE            §
 WALLACE, in her official capacity as       §
 Llano County Library Board Member,         §
 ROCHELLE WELLS, in her official            §
 capacity as Llano County Library Board     §
 Member, RHONDA SCHNEIDER, in her           §
 official capacity as Llano County Library  §
 Board Member, and GAY BASKIN, in her §
 official capacity as Llano County Library  §
 Board Member,                              §
                                            §
    Defendants.                             §



PLAINTIFFS’ REQUESTS FOR ADMISSION TO DEFENDANT JERRY DON MOSS,
                            SET ONE
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          PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

          RESPONDING PARTY:            Defendant Jerry Don Moss

          SET NUMBER:                  One (1)

          Pursuant to Fed. R. Civ. P. 36, Plaintiffs hereby requests that Defendant Jerry Don Moss

(“Defendant” or “JDM”) answer the following Requests for Admission and that said answers be

served on Plaintiffs at the law offices of BraunHagey & Borden LLP, 351 California Street, 10th

Floor, San Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street, Austin,

Texas 78701, within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for Expedited

Discovery.

          These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for JDM, or anyone

representing the interests of JDM, becomes aware of any additional information, documents, or

things sought by these requests between the time JDM responds and trial.

                                          DEFINITIONS

          1.     The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

          2.     The terms “YOU,” “YOUR,” and “JDM” refer, collectively and individually, to
Jerry Don Moss and his officers, directors, principals, partners, employees, agents,

representatives, consultants, attorneys, and any other persons acting under his control or on his

behalf.

          3.     The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.



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       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the online platform used to access the

LIBRARY SYSTEM’s electronic collection or catalog of materials, including ebooks, audio

books, movies, and research databases.

       7.      The term “KRAUSE LIST” refers to the list of purportedly inappropriate books

compiled and published by Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      “SEXUAL CONTENT” refers to any material that refers to, reflects, or depicts
sexual activity in any fashion.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,

teen pregnancy, violence, or LGBTQ issues.



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       12.       The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now
in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,

proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

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name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

                                         INSTRUCTIONS
       1.      If any Request for Admission is withheld by reasons of a claim of privilege, or

because it RELATES TO any DOCUMENT being withheld by reason of a claim of privilege,

please furnish a privilege log within seven (7) days of service of these Requests identifying each

such DOCUMENT for which privilege is claimed, together with the following information with

respect to each DOCUMENT or Admission: (a) author; (b) recipient; (c) sender; (d) indicated or

blind copies; (e) date; (f) general subject matter; (g) basis on which the privilege is claimed; and
(h) the Request for Production to which such DOCUMENT RELATES.

                                 REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1:

       Admit that the LIBRARY SYSTEM’s 2006 Materials Policy, attached here as Exhibit A,

applied to the selection of MATERIALS for, and the removal of MATERIALS from, the

LIBRARY SYSTEM between June 2021 and the present.

REQUEST FOR ADMISSION NO. 2:

       Admit there are still MATERIALS with SEXUAL CONTENT available in the

LIBRARY SYSTEM.

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Dated: May 11, 2022                      BRAUNHAGEY & BORDEN LLP


                                         By:    /DRAFT/
                                                Ellen V. Leonida

                                         Attorneys for Plaintiffs




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                  EXHIBIT A
         Case 1:22-cv-00424-RP Document 23-2 Filed 05/11/22 Page 18 of 37



                            Materials Selection Policy
r
    Purpose of Policy
       • To guide the Director/Head Librarian in the selection of materials.
       • To inform the public about the principles upon which selections are made.

    Definition of Media Selection
       • "Selection" refers to the decision that must be made either to add materials to the
           collection or retain materials already in the collection. The "de-selection" of
           materials will be based on information supplied in the Crew Manual.

    Goals of Media Selection
       • To maintain a well-balanced and broad collection of materials for information,
           reference, research, and enjoyment.
       • To support the democratic process by providing materials for the education and
           enlightenment of the community.

    Responsibility for Selection
       • The ultimate responsibility for media selection rests with the Director/Head
          Librarian of the Library, who operates within the framework of policies
          determined by the Commissioners Court. The general public and staff members
(         may recommend materials for consideration.

    General Principles
       • Selection is based on the merits of a work in relation to the needs, interest and
          demands of the Llano County Library System. Basic to this policy is the Library
          Bill of Rights, as adopted by the American Library Association. This states in
          part, "In no case should any book be excluded because of race or nationality or
          the political or religious views of the writer. There should be the fullest
          practicable provision of material presenting all points of view concerning the
          problem and issues of our times ... international, national and local; and media or
          other reading material of sound factual authority should not be proscribed or
          removed from the library shelves because of partisan or doctrinal disapproval".
          The Library does not promulgate particular beliefs or views, nor is the selection of
          any given media equivalent to endorsement of the viewpoint of the author
          expressed therein.
       • Responsibility for the reading of children rests with their parents or legal
          guardians. Selection should not be inhibited by the possibility that media may
          inadvertently come into possession of children.
       • Materials with an emphasis on sex, or containing profane language should not be
          automatically rejected. Selection should be made on the basis of whether the
          media presents life in its true proportions, whether characters and situations are
          realistically presented, and whether the media has literary value.
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    August 14, 2006
                                               18
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        •    Based on the services it is expected to perfonn, it is the responsibility of the
(            Library to provide circulation reference, and research material for the general
             public and the student. Special collections in depth (business, technology, local
             history, etc.) shall also be maintained when indicated by accepted Library
             procedures and budget restraints.

    Specific Principles for Selection
       The following principles will condition selection:
           • Contemporary significance or permanent value.
           • Accuracy
           • Authority of author
           • Relation of work to existing collection
           • Price, format and ease of use
           • Scarcity of information in subject area
           • Availability of material elsewhere in community ... holdings of other libraries
               within the community is considered in developing the Library's collection.
           • Popular demand ... The Library should make available materials for
               enlightenment and recreation even if not enduring in value, interest or
               accuracy. A representative sampling of experimental or short-lived materials
               may be purchased.

    Textbooks
       • Providing textbooks and curriculum material is generally held to be the
(         responsibility of the schools. Textbooks should be purchased for the collection
          when they supply information in areas that may be the best, or the only source of
          information on the subject.

    Non-book Materials
      • Purchase of non-book materials should be governed by the same principles and
          criteria applied to book purchase.

    Gifts
        •    Selection of gifts should be governed by the same principles and criteria applied
             to the selection of an item for purchase. No conditions may be imposed relating
             to any gift after its acceptance by the Library

    Requests for removal of materials
       • The patron's choice of library materials for personal use will be an individual
          matter.
       • Responsibility for the use of materials by children and adolescents shall rest with
          their parents or legal guardians. While a person may reject materials for himself
          or herself and for his or her children, he or she shall not exercise censorship to
          restrict access to the materials by others.




    August 14, 2006
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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



PLAINTIFFS’ REQUESTS FOR ADMISSION TO DEFENDANT AMBER MILUM,
                           SET ONE
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       PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

       RESPONDING PARTY:              Defendant Amber Milum

       SET NUMBER:                    One (1)

       Pursuant to Fed. R. Civ. P. 36, Plaintiffs hereby requests that Defendant Amber Milum

(“Defendant” or “Ms. Milum”) answer the following Requests for Admission and that said

answers be served on Plaintiffs at the law offices of BraunHagey & Borden LLP, 351 California

Street, 10th Floor, San Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street,

Austin, Texas 78701, within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for

Expedited Discovery.

       These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Ms. Milum, or

anyone representing the interests of Ms. Milum, becomes aware of any additional information,

documents, or things sought by these requests between the time Ms. Milum responds and trial.

                                         DEFINITIONS

       1.      The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

       2.      The terms “YOU” and “YOUR” refer, collectively and individually, to Amber
Milum and her officers, directors, principals, partners, employees, agents, representatives,

consultants, attorneys, and any other persons acting under her control or on her behalf.

       3.      The term “DEFENDANTS” refers, collectively and individually, emails,

messages, text messages, chat logs, letters, envelopes, telegrams, social media posts or direct

messages, or otherwise.

       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

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officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the online platform used to access the

LIBRARY SYSTEM’s electronic collection or catalog of materials, including ebooks, audio

books, movies, and research databases.

       7.      The term “KRAUSE LIST” refers to the list of purportedly inappropriate books

compiled and published by Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      “SEXUAL CONTENT” refers to any material that refers to, reflects, or depicts

sexual activity in any fashion.

       10.     The term “MATERIALS” refers to physical books, including but not limited to

printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.
       11.     The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,

teen pregnancy, violence, or LGBTQ issues.

       12.     The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether

in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.



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       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now

in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,

proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and
units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.




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       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

                                         INSTRUCTIONS
       1.      If any Request for Admission is withheld by reasons of a claim of privilege, or

because it RELATES TO any DOCUMENT being withheld by reason of a claim of privilege,

please furnish a privilege log within seven (7) days of service of these Requests identifying each

such DOCUMENT for which privilege is claimed, together with the following information with

respect to each DOCUMENT or Admission: (a) author; (b) recipient; (c) sender; (d) indicated or

blind copies; (e) date; (f) general subject matter; (g) basis on which the privilege is claimed; and

(h) the Request for Production to which such DOCUMENT RELATES.

                                 REQUESTS FOR ADMISSION
REQUEST FOR ADMISSION NO. 1:

       Admit that the LIBRARY SYSTEM’s 2006 Materials Policy, attached here as Exhibit A,

applied to the selection of MATERIALS for, and the removal of MATERIALS from, the

LIBRARY SYSTEM between June 2021 and the present.

REQUEST FOR ADMISSION NO. 2:

       Admit there are still MATERIALS with SEXUAL CONTENT available in the

LIBRARY SYSTEM.




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Dated: May 11, 2022                      BRAUNHAGEY & BORDEN LLP


                                         By:    /DRAFT/
                                                Ellen V. Leonida

                                         Attorneys for Plaintiffs




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                  EXHIBIT A
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                            Materials Selection Policy
r
    Purpose of Policy
       • To guide the Director/Head Librarian in the selection of materials.
       • To inform the public about the principles upon which selections are made.

    Definition of Media Selection
       • "Selection" refers to the decision that must be made either to add materials to the
           collection or retain materials already in the collection. The "de-selection" of
           materials will be based on information supplied in the Crew Manual.

    Goals of Media Selection
       • To maintain a well-balanced and broad collection of materials for information,
           reference, research, and enjoyment.
       • To support the democratic process by providing materials for the education and
           enlightenment of the community.

    Responsibility for Selection
       • The ultimate responsibility for media selection rests with the Director/Head
          Librarian of the Library, who operates within the framework of policies
          determined by the Commissioners Court. The general public and staff members
(         may recommend materials for consideration.

    General Principles
       • Selection is based on the merits of a work in relation to the needs, interest and
          demands of the Llano County Library System. Basic to this policy is the Library
          Bill of Rights, as adopted by the American Library Association. This states in
          part, "In no case should any book be excluded because of race or nationality or
          the political or religious views of the writer. There should be the fullest
          practicable provision of material presenting all points of view concerning the
          problem and issues of our times ... international, national and local; and media or
          other reading material of sound factual authority should not be proscribed or
          removed from the library shelves because of partisan or doctrinal disapproval".
          The Library does not promulgate particular beliefs or views, nor is the selection of
          any given media equivalent to endorsement of the viewpoint of the author
          expressed therein.
       • Responsibility for the reading of children rests with their parents or legal
          guardians. Selection should not be inhibited by the possibility that media may
          inadvertently come into possession of children.
       • Materials with an emphasis on sex, or containing profane language should not be
          automatically rejected. Selection should be made on the basis of whether the
          media presents life in its true proportions, whether characters and situations are
          realistically presented, and whether the media has literary value.
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    August 14, 2006
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        •    Based on the services it is expected to perfonn, it is the responsibility of the
(            Library to provide circulation reference, and research material for the general
             public and the student. Special collections in depth (business, technology, local
             history, etc.) shall also be maintained when indicated by accepted Library
             procedures and budget restraints.

    Specific Principles for Selection
       The following principles will condition selection:
           • Contemporary significance or permanent value.
           • Accuracy
           • Authority of author
           • Relation of work to existing collection
           • Price, format and ease of use
           • Scarcity of information in subject area
           • Availability of material elsewhere in community ... holdings of other libraries
               within the community is considered in developing the Library's collection.
           • Popular demand ... The Library should make available materials for
               enlightenment and recreation even if not enduring in value, interest or
               accuracy. A representative sampling of experimental or short-lived materials
               may be purchased.

    Textbooks
       • Providing textbooks and curriculum material is generally held to be the
(         responsibility of the schools. Textbooks should be purchased for the collection
          when they supply information in areas that may be the best, or the only source of
          information on the subject.

    Non-book Materials
      • Purchase of non-book materials should be governed by the same principles and
          criteria applied to book purchase.

    Gifts
        •    Selection of gifts should be governed by the same principles and criteria applied
             to the selection of an item for purchase. No conditions may be imposed relating
             to any gift after its acceptance by the Library

    Requests for removal of materials
       • The patron's choice of library materials for personal use will be an individual
          matter.
       • Responsibility for the use of materials by children and adolescents shall rest with
          their parents or legal guardians. While a person may reject materials for himself
          or herself and for his or her children, he or she shall not exercise censorship to
          restrict access to the materials by others.




    August 14, 2006
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             AUSTIN DIVISION

 LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-CV-00424-RP
 PURYEAR, KATHY KENNEDY,                    §
 REBECCA JONES, RICHARD DAY,                §
 CYNTHIA WARING, AND DIANE                  §
 MOSTER,                                    §
                                            §
    Plaintiffs,                             §
                                            §
            v.                              §
                                            §
 LLANO COUNTY, RON CUNNINGHAM, §
 in his official capacity as Llano County   §
 Judge, JERRY DON MOSS, in his official §
 capacity as Llano County Commissioner,     §
 PETER JONES, in his official capacity as   §
 Llano County Commissioner, MIKE            §
 SANDOVAL, in his official capacity as      §
 Llano County Commissioner, LINDA           §
 RASCHKE, in her official capacity as Llano §
 County Commissioner, AMBER MILUM, §
 in her official capacity as Llano County   §
 Library System Director, BONNIE            §
 WALLACE, in her official capacity as       §
 Llano County Library Board Member,         §
 ROCHELLE WELLS, in her official            §
 capacity as Llano County Library Board     §
 Member, RHONDA SCHNEIDER, in her           §
 official capacity as Llano County Library  §
 Board Member, and GAY BASKIN, in her §
 official capacity as Llano County Library  §
 Board Member,                              §
                                            §
    Defendants.                             §



PLAINTIFFS’ REQUESTS FOR ADMISSION TO DEFENDANT BONNIE WALLACE,
                            SET ONE
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       PROPOUNDING PARTY: Plaintiffs Leila Green Little et al.

       RESPONDING PARTY:              Defendant Bonnie Wallace

       SET NUMBER:                    One (1)

       Pursuant to Fed. R. Civ. P. 36, Plaintiffs hereby requests that Defendant Bonnie Wallace

(“Defendant” or “Ms. Wallace”) answer the following Requests for Admission and that said

answers be served on Plaintiffs at the law offices of BraunHagey & Borden LLP, 351 California

Street, 10th Floor, San Francisco, California 94104 or Wittliff Cutter PLLC, 1209 Nueces Street,

Austin, Texas 78701, within fourteen (14) days of the Court’s Order re Plaintiffs’ Motion for

Expedited Discovery.

       These requests are continuing in nature and require supplemental responses as provided

by Rule 26 of the Federal Rules of Civil Procedure, in the event counsel for Ms. Wallace, or

anyone representing the interests of Ms. Wallace, becomes aware of any additional information,

documents, or things sought by these requests between the time Ms. Wallace responds and trial.

                                         DEFINITIONS

       1.      The term “PLAINTIFFS” refers, collectively and individually, to Leila Green

Little, Jeanne Puryear, Kathy Kennedy, Rebecca Jones, Richard Day, Cynthia Waring, and Diane

Moster.

       2.      The terms “YOU” and “YOUR” refer, collectively and individually, to Bonnie
Wallace and her officers, directors, principals, partners, employees, agents, representatives,

consultants, attorneys, and any other persons acting under her control or on her behalf.

       3.      The term “DEFENDANTS” refers, collectively and individually, to Llano

County, Ron Cunningham, Jerry Don Moss, Peter Jones, Mike Sandoval, Linda Raschke, Amber

Milum, Bonnie Wallace, Rochelle Wells, Rhonda Schneider, and Gay Baskin, and their officers,

directors, principals, partners, employees, agents, representatives, consultants, attorneys, and any

other persons acting under their control or on their behalf.

       4.      The term “LIBRARY BOARD” refers, collectively and individually to,

DEFENDANT Gay Baskin, Susie Sitton, Cindy Travers, Cheryll Mabray, Ravelle Kundinger,

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Nancy Miller, Sharon Maki, Louann Raley, DEFENDANT Rochelle Wells, DEFENDANT

Rhonda Schneider, Anita Hilton, Robyn Tibbs, and DEFENDANT Bonnie Wallace, and their

officers, directors, principals, partners, employees, agents, representatives, consultants, attorneys,

and any other persons acting under their control or on their behalf.

       5.      The term “LIBRARY SYSTEM” refers, collectively and individually, to the

Llano Library, the Kingsland Library, and the Lakeshore Library, and their collective and

individual collections of physical, audio, and electronic books and materials.

       6.      The term “OVERDRIVE” refers to the online platform used to access the

LIBRARY SYSTEM’s electronic collection or catalog of materials, including ebooks, audio

books, movies, and research databases.

       7.      The term “KRAUSE LIST” refers to the list of purportedly inappropriate books

compiled and published by Texas State Representative Matt Krause on October 25, 2021.

       8.      The term “COLLECTION REVIEW COMMITTEE” refers to the internal

committee created by the LIBRARY BOARD for the review of books in the LIBRARY

SYSTEM.

       9.      “SEXUAL CONTENT” refers to any material that refers to, reflects, or depicts

sexual activity in any fashion.

       10.     The term “MATERIALS” refers to physical books, including but not limited to
printed books in prose, picture books, and graphic novels and memoirs, as well as digital books,

including but not limited to ebooks and audiobooks.

       11.     The term “INAPPROPRIATE CONTENT” refers to material that

DEFENDANTS allege is indecent, pornographic, obscene, or otherwise inappropriate due to

profanity or discussion of critical race theory (or “CRT”), gender identity, sex, nudity, sexuality,

teen pregnancy, violence, or LGBTQ issues.

       12.     The term “COMMUNICATIONS” refers to the transmittal of information (in the

form of facts, ideas, inquiries, or otherwise) whether orally, in writing, or otherwise, and whether



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in the form of emails, messages, text messages, chat logs, letters, envelopes, telegrams, social

media posts or direct messages, or otherwise.

       13.       The term “DOCUMENT” is used in the broadest possible sense, and means,

without limitation, any written, printed, typed, photostatic, photographed, recorded or otherwise

reproduced COMMUNICATION or representation, whether comprised of letters, words,

numbers, pictures, sounds or symbols, or any notes, records, studies, analyses, contracts,

agreements, projections, estimates, working papers, summaries, statistical statements, financial

statements or work papers, accounts, analytical records, reports or summaries of investigations,

opinions or reports of consultants, opinions or reports of accountants, or other reports, trade

letters, press releases, comparisons, books, diaries, articles, magazines, newspapers, booklets,

brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams, instructions,

minutes of meetings, questionnaires, and surveys, charts, graphs, photographs, phonographs,

films, videotapes, disks, data cells, drums, printouts and all other data compilations from which

information can be obtained, any preliminary versions, drafts, or revisions of any kind of the

foregoing, and other writings or documents of whatever description or kind, whether produced or

authored by you or by anyone else, including non-identical copies of any of the foregoing, now

in your possession, custody, or control.

       14.       The term “PERSON” refers to natural persons, corporations, firms,
proprietorships, partnerships, trust, joint ventures, groups, associations, institutes, organizations,

and any other business, governmental or legal entities, including any divisions, departments, and

units thereof.

       15.       The term “IDENTIFY” means to set forth in detail a description of those facts,

actions, or tangible items, including the dates, location, and any persons or entities necessary to

provide detailed information concerning the relevant facts, actions, or tangible items, as well as

the name of the person or entity; the person or entity’s current business address, including the

name of any entity at which a person works; and if no business address is known, state the

residential address for any person identified.

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       16.     The term “RELATED TO” means making a statement about, mentioning,

referring to, discussing, describing, reflecting, evidencing, identifying, dealing with, consisting

of, constituting, or in any way pertaining to the subject, in whole or in part.

       17.     The singular includes the plural and vice versa, except as the context may require

otherwise; reference to any gender includes the other gender; the words “and” and “or” shall be

construed as either conjunctive or disjunctive in such manner as will broaden as widely as

possible the scope of any topic; the words “any” and “all” mean “any and all”; the words “each”

and “every” mean “each and every”; and the word “including” means “including without

limitation.”

                                         INSTRUCTIONS
       1.      If any Request for Admission is withheld by reasons of a claim of privilege, or

because it RELATES TO any DOCUMENT being withheld by reason of a claim of privilege,

please furnish a privilege log within seven (7) days of service of these Requests identifying each

such DOCUMENT for which privilege is claimed, together with the following information with

respect to each DOCUMENT or Admission: (a) author; (b) recipient; (c) sender; (d) indicated or

blind copies; (e) date; (f) general subject matter; (g) basis on which the privilege is claimed; and

(h) the Request for Production to which such DOCUMENT RELATES.

                                 REQUESTS FOR ADMISSION
REQUEST FOR ADMISSION NO. 1:

       Admit that the LIBRARY SYSTEM’s 2006 Materials Policy, attached here as Exhibit A,

applied to the selection of MATERIALS for, and the removal of MATERIALS from, the

LIBRARY SYSTEM between June 2021 and the present.

REQUEST FOR ADMISSION NO. 2:

       Admit there are still MATERIALS with SEXUAL CONTENT available in the

LIBRARY SYSTEM.




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Dated: May 11, 2022                      BRAUNHAGEY & BORDEN LLP


                                         By:    /DRAFT/
                                                Ellen V. Leonida

                                         Attorneys for Plaintiffs




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                  EXHIBIT A
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                            Materials Selection Policy
r
    Purpose of Policy
       • To guide the Director/Head Librarian in the selection of materials.
       • To inform the public about the principles upon which selections are made.

    Definition of Media Selection
       • "Selection" refers to the decision that must be made either to add materials to the
           collection or retain materials already in the collection. The "de-selection" of
           materials will be based on information supplied in the Crew Manual.

    Goals of Media Selection
       • To maintain a well-balanced and broad collection of materials for information,
           reference, research, and enjoyment.
       • To support the democratic process by providing materials for the education and
           enlightenment of the community.

    Responsibility for Selection
       • The ultimate responsibility for media selection rests with the Director/Head
          Librarian of the Library, who operates within the framework of policies
          determined by the Commissioners Court. The general public and staff members
(         may recommend materials for consideration.

    General Principles
       • Selection is based on the merits of a work in relation to the needs, interest and
          demands of the Llano County Library System. Basic to this policy is the Library
          Bill of Rights, as adopted by the American Library Association. This states in
          part, "In no case should any book be excluded because of race or nationality or
          the political or religious views of the writer. There should be the fullest
          practicable provision of material presenting all points of view concerning the
          problem and issues of our times ... international, national and local; and media or
          other reading material of sound factual authority should not be proscribed or
          removed from the library shelves because of partisan or doctrinal disapproval".
          The Library does not promulgate particular beliefs or views, nor is the selection of
          any given media equivalent to endorsement of the viewpoint of the author
          expressed therein.
       • Responsibility for the reading of children rests with their parents or legal
          guardians. Selection should not be inhibited by the possibility that media may
          inadvertently come into possession of children.
       • Materials with an emphasis on sex, or containing profane language should not be
          automatically rejected. Selection should be made on the basis of whether the
          media presents life in its true proportions, whether characters and situations are
          realistically presented, and whether the media has literary value.
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    August 14, 2006
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        •    Based on the services it is expected to perfonn, it is the responsibility of the
(            Library to provide circulation reference, and research material for the general
             public and the student. Special collections in depth (business, technology, local
             history, etc.) shall also be maintained when indicated by accepted Library
             procedures and budget restraints.

    Specific Principles for Selection
       The following principles will condition selection:
           • Contemporary significance or permanent value.
           • Accuracy
           • Authority of author
           • Relation of work to existing collection
           • Price, format and ease of use
           • Scarcity of information in subject area
           • Availability of material elsewhere in community ... holdings of other libraries
               within the community is considered in developing the Library's collection.
           • Popular demand ... The Library should make available materials for
               enlightenment and recreation even if not enduring in value, interest or
               accuracy. A representative sampling of experimental or short-lived materials
               may be purchased.

    Textbooks
       • Providing textbooks and curriculum material is generally held to be the
(         responsibility of the schools. Textbooks should be purchased for the collection
          when they supply information in areas that may be the best, or the only source of
          information on the subject.

    Non-book Materials
      • Purchase of non-book materials should be governed by the same principles and
          criteria applied to book purchase.

    Gifts
        •    Selection of gifts should be governed by the same principles and criteria applied
             to the selection of an item for purchase. No conditions may be imposed relating
             to any gift after its acceptance by the Library

    Requests for removal of materials
       • The patron's choice of library materials for personal use will be an individual
          matter.
       • Responsibility for the use of materials by children and adolescents shall rest with
          their parents or legal guardians. While a person may reject materials for himself
          or herself and for his or her children, he or she shall not exercise censorship to
          restrict access to the materials by others.




    August 14, 2006
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